Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 1 of 41




                        EXHIBIT 24
                              Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 2 of 41



                                       sprrsrqssrqpprsrqsrppqrpppsqrrpspspsrppsprpsspqssqrssrprqqqqrsqss
                                                                                                                            9314 8699 0430 0053 4854 21
                                       MR. RAFAEL DARIO RAMIREZ CARREÑO
                                       16 E 81ST ST                                                                                      3.45
                                       NEW YORK, NY 10028-0201
                                                                                                                                         0.00
                                                                                                                                         1.50
                                                                                                                                         0.00
                                                                                                                                         1.42
                                       Craig Smyser
                                       700 Louisiana, Suite 2300                                                                         6.37
                                       Houston, TX 77002
                                                                                                                       MR. RAFAEL DARIO RAMIREZ CARREÑO
                                                                                                                       16 E 81ST ST
                                                                                                                       NEW YORK, NY 10028-0201

                                       Craig Smyser
                                       700 Louisiana, Suite 2300
                                       Houston, TX 77002




                                Craig Smyser
9314 8699 0430 0053 4854 21




                                700 Louisiana, Suite 2300
                                Houston, TX 77002




                                                                                                       ÍÊ}.vÇ$>ÂUPV5/Î
                                                                                                           9314 8699 0430 0053 4854 21
                                                                                                           RETURN RECEIPT (ELECTRONIC)




                                                         Please Discard
                                                                                                                                  HARVEST_RDR_000418
   Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 3 of 41




December 18, 2018

Dear Francoise Bernier:

The following is in response to your request for proof of delivery on your item with the tracking number:
9314 8699 0430 0053 4854 21.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     December 6, 2018, 6:58 pm
Location:                                               NEW YORK, NY 10028
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 3.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004




                                                                                                 HARVEST_RDR_000419
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 4 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 1 of 11



                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

  HARVEST NATURAL RESOURCES,                            §
  INC., and HNR ENERGIA B.V.                            §
                                                        §
                 Plaintiffs                             §
 v.                                                     §
  JUAN JOSÉ GARCIA MENDOZA,                             §
  PETRO CONSULTORES, S.C., PETRO                        §
  CONSULTORES INTERNATIONAL                             §
  TRADING COMPANY, INC.,                                §        CIVIL ACTION: 4:18-cv-00483
  PETROCONSULTORES (BARBADOS),                          §
  LTD., PETROCONSULTORES, INC.,                         §
  AZURE 904, LLC, RAFAEL DARIO                          §
  RAMIREZ CARRENO, EULOGIO                              §
  ANTONIO DEL PINO DIAZ, and JOSE                       §
  ANGEL GONZALEZ ACOSTA,                                §
                                                        §
                 Defendants.                            §


                    PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT AGAINST
                        DEFENDANT RAFAEL DARIO RAMIREZ CARRENO

            Pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, Plaintiffs Harvest Natural

 Resources, Inc. and HNR Energia B.V. (collectively “Harvest”) file this Motion for Default

 Judgment against Defendant Rafael Dario Ramirez Carreno (“Ramirez”), and would respectfully

 show the Court as follows:

                                   I.     PROCEDURAL HISTORY

            1.        On February 16, 2018, Harvest filed its Original Complaint in the above-

 captioned proceeding against Ramirez and other defendants, seeking, among other things,

 recovery of over $470,000,000 in lost profits, which resulted from defendants’ years-long

 extortionate bribery scheme [ECF No. 1].

            2.        Service of Summons and Complaint on Ramirez was effected in accordance with

 Federal Rule of Civil Procedure 4(e)(2)(B) on February 16, 2018 by leaving a copy of the


                                                    1
 803758.2
                                                                                 HARVEST_RDR_000420
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 5 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 2 of 11



 Complaint at Ramirez’s dwelling or usual place of abode with Alexandra Leonardo, a domestic

 employee who resided at the residence [ECF No. 10]. Proof of service was filed with the Court

 on February 21, 2018. Id.

            3.   The time for Ramirez to file a responsive pleading or otherwise defend the claims

 brought against him expired on March 9, 2018. Fed. R. Civ. P. 12(a)(1)(A)(i). Pursuant to Rule

 55(a), Harvest requested an entry of default against Ramirez on July 26, 2018 [ECF No. 59]. To

 date, Ramirez has not filed an answer or other responsive pleading or otherwise defended this

 suit. Harvest now moves for default judgment against Ramirez pursuant to Rule 55(b).

                                  II.       LEGAL STANDARDS

            4.   Entering a Default. “A default occurs when a defendant has failed to plead or

 otherwise respond to the complaint within the time required by the Federal Rules.” New York

 Life Ins. Co. v. Brown, 84 F.3d 137, 141 (5th Cir. 1996) (italics omitted). When a defendant’s

 failure to plead or defend the suit is shown by affidavit or otherwise, “the clerk must enter the

 party’s default.” Fed. R. Civ. P. 55(a).

            5.   Entering a Default Judgment. After a default has been entered, the plaintiff

 may apply for a judgment based on such default. Fed. R. Civ. P. 55(b); Brown, 74 F.3d at 141.

 Valid service of process in accordance with Rule 4 is a prerequisite to obtaining a default

 judgment. Thanco Prod. & Imports, Inc. v. Kontos, No. CIV.A. H-08-3046, 2009 WL 540963,

 at *2 (S.D. Tex. Mar. 3, 2009) (citing Omni Capital Int’l, Ltd. v. Rudolf Wolff & Co., 484 U.S.

 97, 104 (1987)). Where a defendant has received actual notice of an action, requirements

 governing service of process are to be “broadly construed.” Nowell v. Nowell, 384 F.2d 951, 953

 (5th Cir. 1967).




                                                 2
 803758.2
                                                                              HARVEST_RDR_000421
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 6 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 3 of 11



            6.   If the plaintiff’s claim is for a sum certain or a sum that can be made certain by

 computation, “the clerk—on the plaintiff’s request, with an affidavit showing the amount due—

 must enter judgment for that amount and costs against a defendant who has been defaulted for

 not appearing and who is neither a minor nor an incompetent person.” Fed. R. Civ. P. 55(b)(1).

 In all other cases, a plaintiff must apply to the court for a default judgment. Fed. R. Civ. P.

 55(b)(2).

                                       III.    ARGUMENT

            7.   Harvest is entitled to an entry of default and default judgment by the clerk

 because Ramirez failed to answer, respond, or otherwise appear in this case after being legally

 served in accordance with Rule 4(e) and because the damages sought herein are a sum certain or

 a sum that can be made certain by computation. Fed. R. Civ. P. 55(a)–(b)(1). As proof that

 Harvest is entitled to the relief requested, Harvest relies upon the factual allegations laid out in

 its First Amended Complaint [ECF No. 14], Request for Entry of Default and accompanying

 exhibit of Alexander M. Wolf [ECF No. 59], and the following documentary evidence:

                 Exhibit A             Affidavit of Keith L. Head, former Vice President and
                                       General Counsel of Harvest Natural Resources, Inc.

                 Exhibit A-1           Press Release, dated June 21, 2012, announcing sale of
                                       Harvest’s Venezuelan assets to PT Pertamina

                 Exhibit A-2           SEC Form 8-K, dated June 21, 2012

                 Exhibit A-3           Press Release, dated December 16, 2013, announcing sale
                                       of Harvest’s Venezuelan assets to Petroandina Resources
                                       Corporation N.V

                 Exhibit A-4           SEC Form 8-K, dated December 16, 2013

                 Exhibit A-5           Press Release, dated June 30, 2016, announcing sale of
                                       Harvest’s Venezuelan assets to CT Energy Holding SRL




                                                  3
 803758.2
                                                                                HARVEST_RDR_000422
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 7 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 4 of 11



                  Exhibit A-6          Press Release, dated October 7, 2016, announcing closing
                                       of Harvest’s sale of Venezuelan assets to CT Energy
                                       Holding SRL

            8.    Alternatively, should the Court determine that the damages sought are not a sum

 certain or a sum that can be made certain by computation, Harvest requests a hearing so that the

 proper amount of damages may be determined. Fed. R. Civ. P. 55(b)(2).

            A.    Ramirez was properly served in accordance with Rule 4(e)(2) when copies of
                  the summons and complaint were served upon a domestic employee who
                  resided at Ramirez’s New York residence.


            9.    Pursuant to Rule 4(e)(2)(B), “an individual—other than a minor, an incompetent

 person, or a person whose waiver has been filed—may be served in a judicial district of the

 United States by: . . . leaving a copy of [the summons and the complaint] at the individual’s

 dwelling or usual place of abode with someone of suitable age and discretion who resides there.”

 Fed. R. Civ. P. 4(e)(2)(B). It is beyond dispute that Ramirez is not a minor, an incompetent

 person, or a person whose waiver has been filed. Fed. R. Civ. P. 4(e)(2)(B). Accordingly,

 service under Rule 4(e)(2)(B) is appropriate.

            10.   Service upon a defendant’s domestic employee is effective under Rule 4(e)(2)(B),

 provided the employee actually lives in the defendant’s residence and is of suitable age and

 discretion. See, e.g., Kelly, Sutter, Mount & Kendrick, P.C. v. Alpert, 234 F. App’x 246, 247

 (5th Cir. 2007) (affirming trial court’s finding that service under Rule 4(e)(2) was proper where

 housekeeper who received process resided in the defendant’s residence); Home-Stake Prod. Co.

 v. Talon Petroleum, C.A., 907 F.2d 1012, 1016–17 (10th Cir. 1990) (finding that service of

 process upon defendant’s cook at defendant’s residence was sufficient under Rule 4(d)(1) [now

 Rule 4(e)(2)], absent showing that cook did not reside at defendant’s home). A process server’s

 declaration, signed under penalty of perjury, that process was served upon a person of suitable



                                                  4
 803758.2
                                                                              HARVEST_RDR_000423
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 8 of 41

         Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 5 of 11



 age and discretion is prima facie evidence of valid service, “which can be overcome only by

 strong and convincing evidence.” People’s United Equip. Fin. Corp. v. Hartmann, 447 F. App’x

 522, 524 (5th Cir. 2011) (citing O’Brien v. R.J. O’Brien & Associates, Inc., 998 F.2d 1394, 1398

 (7th Cir. 1993)).

            11.      Ramirez was legally served under Rule 4(e)(2)(B) when a copy of the summons

 and complaint was left at his New York residence with Alexandra Leonardo, a domestic

 employee who resided at the residence. [ECF Nos. 10, 59]. The declaration of Avner Rahimov,

 signed under penalty of perjury, establishes that Leonardo was approximately 60 years old at the

 time of service and is a person of suitable age and discretion. [ECF No. 10].

            B.       Ramirez’s New York residence is his “dwelling or usual place of abode”
                     within the meaning of Rule 4(e)(2)(B).

            12.      The Fifth Circuit has explained that “no hard and fast rule can be fashioned to

 determine what is or is not a party’s ‘dwelling house or usual place of abode’ within the rule’s

 meaning.” Nowell, 384 F.2d at 953. Instead, the “practicalities of the particular fact situation

 determine whether service meets the requirements of [4(e)(2)(B)].” 1 Id. Notably, a defendant

 can have more than one dwelling or usual place of abode, provided each contains sufficient

 indicia of permanence. Norris v. Causey, 869 F.3d 360, 368 (5th Cir. 2017); Blackhawk Heating

 & Plumbing Co. v. Turner, 50 F.R.D. 144, 149 (D. Ariz. 1970) (citing Nowell and finding that

 defendant’s failure to leave a forwarding address was a factor in determining that apartment

 where process was served was defendant’s dwelling or usual place of abode). Moreover, a

 defendant need not be living at the location where process is served for that location to qualify as

 his dwelling or usual place of abode under Rule 4(e)(2). Thanco Prod. & Imports, 2009 WL




 1
     At the time Nowell was decided, Rule 4(e)(2)(B) was 4(d)(1).



                                                           5
 803758.2
                                                                                 HARVEST_RDR_000424
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 9 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 6 of 11



 540963, at *3 (citing Ali v. Mid–Atlantic Settlement Services, Inc., 233 F.R.D. 32, 36 (D.D.C.

 2006)).

            13.   Ramirez’s New York residence is his “dwelling or usual place of abode” within

 the meaning of Rule 4(e)(2)(B). Harvest’s independent investigation located a single address for

 Ramirez at 16 E. 81st Street, New York, New York, 10028. Process was served at that address

 and accepted on Ramirez’s behalf.

            14.   As set forth in Harvest’s First Amended Complaint, Ramirez is believed to be the

 ultimate target of U.S. and Venezuelan probes into corruption within PDVSA. [ECF No. 14 at ¶

 56]. Accordingly, Ramirez is believed to be on the run, as no additional or forwarding addresses

 have been identified for him.

            15.   The New York residence at which Ramirez was served remains his “dwelling or

 usual place of abode,” because a live-in housekeeper accepted service for Ramirez; mail

 subsequently sent to Ramirez’s attention at the same address was accepted, infra; Ramirez did

 not leave a forwarding address, see Blackhawk Heating & Plumbing Co, 50 F.R.D. at 149; and

 Ramirez had actual notice of the lawsuit.

            C.    Rule 4(e)(2)(B)’s “dwelling or usual place of abode” requirement should be
                  broadly construed because Ramirez had actual notice of the lawsuit.

            16.   To the extent there are any doubts about whether Ramirez was served at his

 dwelling or usual place of abode, such doubts should be resolved in Harvest’s favor, as

 Ramirez’s had actual notice of this suit. Where a defendant has received actual notice of the suit,

 Rule 4(e)(2)(B) should be broadly construed.          Nowell, 384 F.2d at 953; Karlsson v.

 Rabinowitz, 318 F.2d 666 (4th Cir.1963) (service of process left at defendant’s former residence

 was effective because defendant had actual knowledge of the suit).




                                                  6
 803758.2
                                                                               HARVEST_RDR_000425
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 10 of 41

        Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 7 of 11



             17.   Ramirez’s comments to the press on the same day process was served in New

  York demonstrate that Ramirez received actual notice of the suit. On February 20, 2018, an

  Associated Press article regarding Harvest’s lawsuit stated: “Ramirez, contacted Friday

  [February 16, 2018] by AP, declined to comment on the suit but reiterated that he never asked

  for bribes or played a role in the selection of PDVSA’s business partners.” [ECF No. 59-1].

  Ramirez’s comments indicate that he had knowledge of the existence of the suit against him and

  of its allegations.

             18.   Following service of process at Ramirez’s New York residence, counsel for

  Harvest took additional steps to ensure that Ramirez had actual notice of this lawsuit, including

  attempting to contact him by phone and leaving voice messages, sending text messages, and

  sending WhatsApp messages, using numbers obtained during Harvest’s investigation. [ECF No.

  59-1]. Harvest’s counsel also sent packages containing court documents to Ramirez’s New York

  address via U.S. First-Class Certified Mail, Return Receipt Requested on February 28, 2018,

  March 9, 2018, and April 6, 2018, all of which were delivered and signed for. An additional

  package of court documents was sent to Ramirez’s New York address on May 23, 2018. Only

  this last package was returned to Harvest’s counsel after being marked as “Refused, Unable to

  Forward.”

             19.   Ramirez’s actual notice of the suit combined with the fact that court documents

  were delivered to his New York address and accepted—followed by a delivery that was

  affirmatively refused—warrants broad construction of Rule 4(e)(2)(B)’s requirement that

  defendants be served at their “dwelling or usual place of abode.” Nowell, 384 F.2d at 953.

  Because Ramirez was properly served under Rule 4(e)(2)(B) and has since refused to answer or




                                                  7
  803758.2
                                                                              HARVEST_RDR_000426
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 11 of 41

        Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 8 of 11



  otherwise defend the claims brought against him, Harvest is entitled to entry of default and a

  default judgment.

             D.    Harvest’s damages are a “sum certain or a sum that can be made certain by
                   computation” within the meaning of Rule 55(b)(1).

             20.   Pursuant to Rule 55, “[i]f the plaintiff’s claim is for a sum certain or a sum that

  can be made certain by computation, the clerk—on the plaintiff’s request, with an affidavit

  showing the amount due—must enter judgment for that amount and costs against a defendant

  who has been defaulted for not appearing and who is neither a minor nor an incompetent

  person.” Fed. R. Civ. P. 55(b)(1) (emphasis added). Harvest is entitled to a default judgment

  from the clerk in the amount of $472,039,552.66, which is a sum certain or a sum that can be

  made certain by computation in accordance with Rule 55(b)(1).

             21.   On June 21, 2012, Harvest Natural Resources announced that its wholly-owned

  subsidiary HNR Energia B.V. had signed a Share Purchase Agreement with PT Pertamina (the

  “Pertamina Deal”) to sell all of its Venezuelan assets for an all-cash transaction totaling $725

  million. Exhibits A, A-1, A-2 at 2. The Pertamina Deal was subject to approval by the

  Venezuelan government. Exhibits A-1, A-2 at 2. Following the announcement of the Pertamina

  Deal, Ramirez and other co-conspirators directed an associate to solicit a multi-million dollar

  bribe from Harvest, which Harvest refused to pay. As a result of Harvest’s refusal to pay the

  bribe demand, the Venezuelan government withheld approval, causing the Pertamina Deal to fall

  through.

             22.   Thereafter on December 16, 2013, Harvest announced that it had entered into a

  Share Purchase Agreement with Petroandina Resources Corporation N.V. (the “Petroandina

  Deal”). Exhibits A, A-3, A-4 at 2. The Petroandina Deal involved two transactions for a total

  cash purchase price of $400 million. Exhibits A-3, A-4 at 2. Harvest closed the first transaction



                                                    8
  803758.2
                                                                                 HARVEST_RDR_000427
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 12 of 41

        Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 9 of 11



  for $125 million upon execution of the Share Purchase Agreement. Exhibits A-3, A-4 at 2. The

  second all-cash transaction in the amount of $275 million was subject to approval by the

  Venezuelan government. Exhibits A-3, A-4 at 2.

             23.   Following the announcement of the Petroandina Deal, Ramirez and other co-

  conspirators directed the same associate to solicit another multi-million dollar bribe from

  Harvest, which Harvest again refused to pay. As a result of Harvest’s refusal to pay the bribe

  demand, the Venezuelan government again withheld approval, causing the Petroandina Deal to

  fall through.

             24.   On June 29, 2016, Harvest entered into a Share Purchase Agreement with CT

  Energy Holding SRL to sell its remaining Venezuelan assets. Exhibits A, A-5. The transaction

  was completed on October 7, 2016 for a total of $127,960,447.34 in cash, promissory notes, debt

  cancellation, and other assets. Exhibits A, A-6.

             25.   As a result of Ramirez’s actions, Harvest suffered a loss of $472,039,552.66:


      $725,000,000               $125,000,000
                                                             $127,960,447.34
     (initial all-cash          (successful first                                        Loss of
                           –                             –   (final sale to CT   =
         offer for               transaction in                                      $472,039,552.66
                                                                 Energy)
     Pertamina deal)           Petroandina Deal)


             26.   As shown by the equation above, Harvest’s damages in the amount of

  $472,039,552.66 are a sum certain or a sum that can be made certain by computation in

  accordance with Rule 55(b)(1). Accordingly, Harvest requests that the Court enter an order

  directing the Clerk to enter judgment against Ramirez in the amount of $472,039,552.66.

             27.   Alternatively, should the Court determine that Harvest’s damages are not a sum

  certain or a sum that can be made certain by computation, Harvest requests a hearing so that the

  proper amount of damages may be determined. Fed. R. Civ. P. 55(b)(2).



                                                     9
  803758.2
                                                                                 HARVEST_RDR_000428
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 13 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 10 of 11



                                        IV.    CONCLUSION

             For the foregoing reasons, Plaintiffs Harvest Natural Resources, Inc. and HNR Energia

  B.V. respectfully request that this Court:

                    1.     enter an order directing the Clerk to enter Defendant Rafael Dario
                           Ramirez Carreno’s default; and

                    2.     enter an order directing the Clerk to enter a default judgment against
                           Defendant Rafael Dario Ramirez Carreno in the amount of
                           $472,039,552.66.

  Dated: November 30, 2018                          Respectfully Submitted,

                                                   SMYSER KAPLAN & VESELKA, L.L.P.

                                                   By: /s/ Dane Ball
                                                   Craig Smyser
                                                   Attorney-in-Charge
                                                   Fed. Bar No. 848
                                                   State Bar No. 18777575
                                                   Dane Ball
                                                   Federal Bar No. 784400
                                                   State Bar No. 24051642
                                                   Ty Doyle
                                                   Federal Bar No. 1373873
                                                   State Bar No. 24072075
                                                   Alexander M. Wolf
                                                   Federal Bar No. 2470631
                                                   State Bar No. 24095027
                                                   700 Louisiana, Suite 2300
                                                   Houston, Texas 77002
                                                   (713) 221-2300 (phone)
                                                   (713) 221-2320 (fax)
                                                   csmyser@skv.com
                                                   dball@skv.com
                                                   tydoyle@skv.com
                                                   awolf@skv.com

                                                   ATTORNEYS FOR PLAINTIFFS
                                                   HARVEST NATURAL RESOURCES, INC.
                                                   AND HNR ENERGIA B.V.




                                                  10
  803758.2
                                                                               HARVEST_RDR_000429
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 14 of 41

       Case 4:18-cv-00483 Document 65 Filed in TXSD on 11/30/18 Page 11 of 11



                                  CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who are deemed to have consented to electronic
  service are being served with a copy of this document via the Court’s CM/ECF system per Local
  Rule 5.1 on November 30, 2018. A copy of this document was also served on Defendant Rafael
  Dario Ramirez Carreno via certified mail, return receipt requested, per Local Rule 5.5 on
  November 30, 2018, at the following address:

             16 E. 81st Street
             New York, New York 10028

                                                       /s/ Dane Ball
                                                       Dane Ball




                                                 11
  803758.2
                                                                               HARVEST_RDR_000430
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 15 of 41

      Case 4:18-cv-00483 Document 65-1 Filed in TXSD on 11/30/18 Page 1 of 3
                                                                            Exhibit




                                                                                                        exhibitsticker.com
                                                                                                  A
                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 HARVEST NATURAL RESOURCES,                           §
 INC., and HNR ENERGIA B.V.                           §
                                                      §
        Plaintiffs                                    §
v.                                                    §
 JUAN JOSÉ GARCIA MENDOZA,                            §
 PETRO CONSULTORES, S.C., PETRO                       §
 CONSULTORES INTERNATIONAL                            §
 TRADING COMPANY, INC.,                               §         CIVIL ACTION: 4:18-cv-00483
 PETROCONSULTORES (BARBADOS),                         §
 LTD., PETROCONSULTORES, INC.,                        §
 AZURE 904, LLC, RAFAEL DARIO                         §
 RAMIREZ CARRENO, EULOGIO                             §
 ANTONIO DEL PINO DIAZ, and JOSE                      §
 ANGEL GONZALEZ ACOSTA,                               §
                                                      §
             Defendants.                              §


                                 AFFIDAVIT OF KEITH L. HEAD

       BEFORE ME, the undersigned authority, on this day personally appeared KEITH L.
HEAD, who is personally known to me and being first duly sworn by me, testified upon oath as
follows:

1.         “My name is Keith L. Head. I am over the age of 18, of sound mind, and competent and
           legally capable of making this affidavit. The facts stated herein are true and correct and
           of my own personal knowledge. I am the former Vice President and General Counsel of
           Plaintiff Harvest Natural Resources, Inc. (“Harvest”). Harvest formally dissolved on
           May 4, 2017; however, as required by Delaware law, Harvest continues to exist for a
           period of at least three years (until May 2020) for the purposes of prosecuting lawsuits,
           liquidating, and closing its business. See Del. Code Title 8 § 278. Plaintiff HNR Energia
           B.V. is a wholly-owned subsidiary of Harvest.

2.         On June 21, 2012, Harvest announced that HNR Energia B.V. had signed a Share
           Purchase Agreement with PT Pertamina (Persero), a state-owned limited liability
           company existing under the laws of the Republic of Indonesia, to sell all of its
           Venezuelan assets (hereafter the “Pertamina Deal”). A true and correct copy of the press
           release announcing the Pertamina Deal is attached as Exhibit A-1. Pursuant to the
           Pertamina Deal, HNR Energia B.V. agreed to sell its 80 percent (80%) interest in
           Harvest-Vinccler Dutch Holding B.V. to PT Pertamina for a cash purchase price of $725
           million. Harvest-Vinccler Dutch Holding B.V., in turn, owned assets in Petrodelta, S.A.,
           an exploration and production company organized under Venezuelan law. The Pertamina


805667.3
                                                                                 HARVEST_RDR_000431
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 16 of 41

       Case 4:18-cv-00483 Document 65-1 Filed in TXSD on 11/30/18 Page 2 of 3



            Deal was subject to approval by Venezuela’s Ministerio del Poder Popular y Mineria and
            the Government of the Republic of Indonesia. A true and correct copy of Harvest’s Form
            8-K filed with the Securities and Exchange Commission and reflecting the details of the
            Pertamina Deal is attached as Exhibit A-2.

 3.         Following the announcement of the Pertamina Deal, Defendant Rafael Dario Ramirez
            Carreno (“Ramirez”) and other co-conspirators directed an associate to solicit a $10
            million bribe from Harvest, which Harvest refused to pay. As a result of Harvest’s
            refusal to pay the bribe demand, the Venezuelan government withheld approval, causing
            the Pertamina Deal to fall through on February 20, 2013.

 4.         On December 16, 2013, Harvest announced that it had entered into a Share Purchase
            Agreement with Petroandina Resources Corporation N.V., a Netherlands limited liability
            company and its parent company, Pluspetrol Resources Corporation B.V. (hereafter the
            “Petroandina Deal”). A true and correct copy of the press release announcing the
            Petroandina Deal is attached as Exhibit A-3. Although the Petroandina Deal concerned
            the sale of the same 80% interest detailed in paragraph 2, supra, the Petroandina Deal
            called for a total cash purchase price of $400 million in two transactions of 29 percent
            (29%) and 51 percent (51%) respectively. The first transaction in the amount of $125
            million for HNR Energia B.V.’s 29% interest was closed upon execution of the Share
            Purchase Agreement. The second transaction in the amount of $275 million for the
            remaining 51% required approval by Venezuela’s Ministerio del Poder Popular y
            Mineria. A true and correct copy of Harvest’s Form 8-K filed with the Securities and
            Exchange Commission and reflecting the details of the Petroandina Deal is attached as
            Exhibit A-4.

 5.         Following the announcement of the Petroandina Deal, Ramirez and other co-conspirators
            directed the same associate to solicit another $10 million bribe from Harvest, which
            Harvest again refused to pay. As a result of Harvest’s refusal to pay the bribe demand,
            the Venezuelan government again withheld approval, causing the second transaction of
            the Petroandina Deal to fall through on January 1, 2015.

 6.         On June 29, 2016, Harvest entered into a Share Purchase Agreement with CT Energy
            Holding SRL, a Barbados Society with Restricted Liability, to sell the remaining 51%
            interest from the failed second transaction of the Petroandina Deal (hereafter the “CT
            Energy Deal”). A true and correct copy of the press release announcing the CT Energy
            Deal and detailing its terms is attached as Exhibit A-5. The CT Energy Deal was
            completed on October 7, 2016 for a total of $127,960,447.34, divided as follows:

                                         Asset                                       Value
            Cash                                                                    $80,000,000.00
            8,667,597 shares of Harvest common stock                                 $4,247,000.00
            Promissory note                                                         $12,000,000.00
            Debt cancellation                                                       $30,000,000.00
            Warrants to purchase 34,070,820 shares of Harvest common stock           $1,713,447.34
                                                                    TOTAL          $127,960,447.34


 805667.3
                                                                               HARVEST_RDR_000432
     Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 17 of 41


                Case 4:18-cv-00483 Document 65-1 Filed in TXSD on 11/30/18 Page 3 of 3




                     A true and correct copy of the press release announcing the closing of CT Energy Deal is
                     attached as Exhibit A-6.

               7. The $127,960,447.34 loss can also be calculated by looking to a settlement agreement
                  and concordant purchase and sale agreement reached between Harvest, Petroandina, and
                  CT Energy, under which Petroandina sold the 29% interest, which it had previously
                  acquired as detailed in paragraph 4, supra, to CT Energy for $72,761 ,823.00. Pursuant to
                  the settlement agreement, the parties valued the 29% interest at $72,761 ,823.00.
                  Accordingly, the remaining 51% interest was valued at $127,960.447.34. 1

          8.         Taken together, Harvest received a total of $252,960,447.34 for the sale of its
                     Venezuelan assets: $125,000,000 for the first Petroandina transaction and
                     $127,960,447.34 for the CT Energy Deal. This represented a loss of $472,039,552.66
                     from the initial all-cash purchase price of $725 million offered by PT Pertamina."

                     FURTHER AFFIANT SAYETH NOT.




          GIVEN UNDER MY HAND AND SEAL OF OFFICE and SWORN AND SUBSCRIBED
          BEFORE ME on this the ~ day of No-i~ne{ , 2018.


                                   SUEMY CRUZ
                              Notary ID # 130899036
                              My Commission Expires
                                November 11 , 2020                   Not
                                                                     State of Texas

          Printed name and commission expiration
          date (or seal stating the same information)




          1
           $72,761 ,823.00 equals 0.29 multiplied by x, with x being the value of 100% ofHNR Energia, B.V.'s assets. That
          means x equals $72,761 ,823.00 divided by 0.29, which is $250,902,837.93. $250,902,837.93 multiplied by 0.51
          yields the value of 51% ofHNR Energia B.V.' s assets, which is $127,960.447.34.


          805667.3




'
r'
                                                                                                HARVEST_RDR_000433
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 18 of 41


        Case 4:18-cv-00483 Document 65-2 Filed in TXSD on 11/30/18 Page 1 of 2




                                                                           Exhibit




                                                                                     exhibitsticker.com
                                                                            A-1




                                                                HARVEST_RDR_000434
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 19 of 41


        Case 4:18-cv-00483 Document 65-2 Filed in TXSD on 11/30/18 Page 2 of 2




                                                                HARVEST_RDR_000435
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 20 of 41


        Case 4:18-cv-00483 Document 65-3 Filed in TXSD on 11/30/18 Page 1 of 5
                                                                             Exhibit




                                                                                       exhibitsticker.com
                                                                              A-2




                                                                 HARVEST_RDR_000436
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 21 of 41


        Case 4:18-cv-00483 Document 65-3 Filed in TXSD on 11/30/18 Page 2 of 5




                                                                HARVEST_RDR_000437
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 22 of 41


        Case 4:18-cv-00483 Document 65-3 Filed in TXSD on 11/30/18 Page 3 of 5




                                                                HARVEST_RDR_000438
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 23 of 41


        Case 4:18-cv-00483 Document 65-3 Filed in TXSD on 11/30/18 Page 4 of 5




                                                                HARVEST_RDR_000439
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 24 of 41


        Case 4:18-cv-00483 Document 65-3 Filed in TXSD on 11/30/18 Page 5 of 5




                                                                HARVEST_RDR_000440
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 25 of 41


        Case 4:18-cv-00483 Document 65-4 Filed in TXSD on 11/30/18 Page 1 of 2
                                                               Exhibit




                                                                         exhibitsticker.com
                                                                A-3




                                                                HARVEST_RDR_000441
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 26 of 41


        Case 4:18-cv-00483 Document 65-4 Filed in TXSD on 11/30/18 Page 2 of 2




                                                                HARVEST_RDR_000442
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 27 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 1 of 6Exhibit




                                                                                        exhibitsticker.com
                                                                               A-4




                                                                 HARVEST_RDR_000443
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 28 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 2 of 6




                                                                HARVEST_RDR_000444
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 29 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 3 of 6




                                                                HARVEST_RDR_000445
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 30 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 4 of 6




                                                                HARVEST_RDR_000446
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 31 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 5 of 6




                                                                HARVEST_RDR_000447
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 32 of 41


        Case 4:18-cv-00483 Document 65-5 Filed in TXSD on 11/30/18 Page 6 of 6




                                                                HARVEST_RDR_000448
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 33 of 41


        Case 4:18-cv-00483 Document 65-6 Filed in TXSD on 11/30/18 Page 1 of 4
                                                                             Exhibit




                                                                                       exhibitsticker.com
                                                                              A-5




                                                                 HARVEST_RDR_000449
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 34 of 41


        Case 4:18-cv-00483 Document 65-6 Filed in TXSD on 11/30/18 Page 2 of 4




                                                                HARVEST_RDR_000450
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 35 of 41


        Case 4:18-cv-00483 Document 65-6 Filed in TXSD on 11/30/18 Page 3 of 4




                                                                HARVEST_RDR_000451
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 36 of 41


        Case 4:18-cv-00483 Document 65-6 Filed in TXSD on 11/30/18 Page 4 of 4




                                                                HARVEST_RDR_000452
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 37 of 41


        Case 4:18-cv-00483 Document 65-7 Filed in TXSD on 11/30/18 Page 1 of 3
                                                                             Exhibit




                                                                                       exhibitsticker.com
                                                                              A-6




                                                                 HARVEST_RDR_000453
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 38 of 41


        Case 4:18-cv-00483 Document 65-7 Filed in TXSD on 11/30/18 Page 2 of 3




                                                                HARVEST_RDR_000454
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 39 of 41


        Case 4:18-cv-00483 Document 65-7 Filed in TXSD on 11/30/18 Page 3 of 3




                                                                HARVEST_RDR_000455
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 40 of 41

      Case 4:18-cv-00483 Document 65-8 Filed in TXSD on 11/30/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 HARVEST NATURAL RESOURCES,                          §
 INC., and HNR ENERGIA B.V.                          §
                                                     §
        Plaintiffs                                   §
v.                                                   §
 JUAN JOSÉ GARCIA MENDOZA,                           §
 PETRO CONSULTORES, S.C., PETRO                      §
 CONSULTORES INTERNATIONAL                           §
 TRADING COMPANY, INC.,                              §         CIVIL ACTION: 4:18-cv-00483
 PETROCONSULTORES (BARBADOS),                        §
 LTD., PETROCONSULTORES, INC.,                       §
 AZURE 904, LLC, RAFAEL DARIO                        §
 RAMIREZ CARRENO, EULOGIO                            §
 ANTONIO DEL PINO DIAZ, and JOSE                     §
 ANGEL GONZALEZ ACOSTA,                              §
                                                     §
             Defendants.                             §


                                                ORDER

           The Court has considered Plaintiffs Harvest Natural Resources, Inc. and HNR Energia

B.V.’s Motion for Default Judgment against Defendant Rafael Dario Ramirez Carreno and

supporting affidavit.

           The Court finds that Defendant Ramirez was properly served in accordance with Federal

Rule of Civil Procedure 4(e), and that he failed to answer, respond, or otherwise defend the claims

brought against him within the time period prescribed by Federal Rule of Civil Procedure

12(a)(1)(A)(i).

           The Court also finds that the damages sought by Plaintiffs in the amount of $472,039,552.66

is a sum certain or a sum that can be made certain by computation in accordance with Federal Rule

of Civil Procedure 55(b)(1). Accordingly, Plaintiffs’ motion is granted.




810654.1
                                                                               HARVEST_RDR_000456
Case 4:18-cv-00483 Document 153-24 Filed on 10/13/20 in TXSD Page 41 of 41

 Case 4:18-cv-00483 Document 65-8 Filed in TXSD on 11/30/18 Page 2 of 2



    IT IS HEREBY ORDERED that the Clerk:

          1.          enter Defendant Rafael Dario Ramirez Carreno’s default; and

          2.          enter a default judgment against Defendant Rafael Dario Ramirez Carreno in
                      the amount of $472,039,552.66.


    SIGNED on _____________________, 2018, at Houston, Texas.


                                                     _________________________________
                                                               Lee H. Rosenthal
                                                        Chief United States District Judge




          2810654.1
                                                                              HARVEST_RDR_000457
